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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                              SAN JOSE DIVISION


 DISPLAY TECHNOLOGIES, LLC,                )                  Case No. 5:24-cv-00703-NC
                                           )
    Plaintiff,                             )                  NOTICE OF ATTORNEY APPEARANCE
                                           )                  OF FRANCESCA M. S. GERMINARIO
 v.                                        )
                                           )
 DISCORD INC.,                             )
                                           )
    Defendant.                             )
 _________________________________________ )


          Defendant Discord Inc. hereby notifies the Court and the parties to this action that Francesca M.

 S. Germinario of Warren Kash Warren LLP, an attorney admitted to practice before this Court, appears

 as counsel for defendant Discord Inc. in this matter. Please serve all pleadings, correspondence, and

 other materials on Ms. Germinario at the above address.

 Date: February 29, 2024                               Respectfully submitted,

                                                       _______________________________________
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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                    NOTICE OF ATTORNEY APPEARANCE OF FRANCESCA M. S. GERMINARIO
